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                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS

HC&D, LLC,

                      Plaintiff,
       v.

PRECISION NDT & CONSULTING, LLC
and CASHMAN EQUIPMENT CORP.
                                                           Civil Action No. 1:22-cv-10224-DPW
                      Defendants.




      CASHMAN EQUIPMENT CORP.’S REPLY MEMORANDUM IN SUPPORT
                      OF MOTION TO DISMISS

       Defendant, Cashman Equipment Corp. (“Cashman” or “Defendant”), submits this Reply

Memorandum in Support of its Motion to Dismiss pursuant to Fed.R.Civ.Pro 12(b)(6) to respond

to the claims and arguments posed by Plaintiff, HC&D, LLC (“Plaintiff” or HC&D”) in its

opposition to same.

 I.     Plaintiff “reliance” was unreasonable as a matter of law. It seeks to rewrite the
        Contract to manufacture reasonableness

       Plaintiff repeatedly referenced its reliance upon allegedly fraudulent documents. Cashman

 denies the accuracy of, and objects to, this characterization, but for the purpose of this Motion,

 so be it. Plaintiff’s emphasis on its purported reliance is misdirection. The reasonableness of

 such reliance is the linchpin and Plaintiff’s reliance was unreasonable as a matter of law. Unable

 to clear this hurdle when presented with the Contract it actually executed, Plaintiff seeks to rewrite

 or otherwise distort the plain wording of the Contract.

       A. Plaintiff explicitly disclaimed all representations by Cashman, without exception.

       Plaintiff did not adequately address the Contract language most relevant to the issues at




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hand. At Section 4, Plaintiff “explicitly disclaimed” and Cashman “explicitly disavowed” any

alleged warranties or representations, express or implied, regarding the barge’s condition,

seaworthiness or qualification for classification. See ECF Doc. 4-1, at Sec. 4. Plaintiff’s disclaimer

is unconditional and includes no exceptions nor carve-outs. The unconditional nature is mirrored

in Cashman’s disavowal of all warranties and representations.

       Plaintiff’s opposition instead misconstrues and distorts other Contract language, analyzes

generic “as-is” and integration clauses, (neither of which were argued, nor are at issue), and even

suggests the Court utilize an alternative and after-the-fact reconfigured Section 4. It is axiomatic

that the plain and unambiguous Contract terms are not to be redrafted to a version the Plaintiff

prefers.

       B. The sale was not “subject” to the accuracy of certain documents.

       Section 3 has two parts. In the first part, Plaintiff stated it had reviewed the inspection and

classification records of the vessel. Nothing in this sentence limits the universe of inspection and

classification records to those provided by Cashman. This sentence is properly read to mean that

Plaintiff reviewed all the records, or at least all those it deemed appropriate. However, per the

attachments to Plaintiff’s Amended Complaint, it clearly had access to numerous other “inspection

and classification records” which Plaintiff apparently declined to review. All this despite the fact

Plaintiff affirmatively represented in the Contract that it had done so.

       The second part of Section 3 declared the sale was not dependent upon Plaintiff conducting

any inspection of the vessel. This type of clause is common and typically allows a buyer to inspect

the object of its desire before consummating the sale - if buyer does not like what it sees, it may

then opt to not purchase. Section 3 in this Contract is nothing more than Plaintiff foregoing its

ability to condition the sale upon the completion of an inspection of the barge.




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           Despite these two simple clauses in Section 3 (neither of which are convoluted, esoteric,

or unusual), Plaintiff somehow extrapolated that Section 3 should be read to state that the

“enforceability of [of the Contract] was subject to the truthfulness of [the] documents [provided

by Cashman].”1 This is nonsensical. The two clauses within Section 3 relate to Plaintiff’s due

diligence – it stipulated it had reviewed whichever of the vessel’s records it wished to review and

that it declined to condition the sale upon satisfactory results of an inspection.

           But, to indulge Plaintiff’s argument for a moment, then Plaintiff must account for the fact

that it contractually stipulated that it had reviewed all the inspection and classification records.

The scope of these records include those Plaintiff attached to its Amended Complaint. Notably,

Plaintiff has advised the Court these documents would have deterred it from purchasing the barge.2

Plaintiff offered no excuse for its less than thorough approach, but still asks the Court to ignore

same.

           Plaintiff also discussed the concept that a contract should not be read to render clauses as

superfluous or meaningless. In this same vein, a contract must not be read in a way that contradicts

the plain meaning of the words and phrases agreed to by the parties. Plaintiff’s proposed reading

of Section 3 does not honor the plain meaning of its words and clauses.

           C. Plaintiff seeks to expand the Contract by claiming some, but not all, inspection
              records were “incorporated into the Contract.”

           Plaintiff argued the Contract somehow incorporated the inspection records provided by

    Cashman.3 The words of the Contract do not say this, nor is there any reasonable reading of them



1
    See Plaintiff’s Opposition to Defendant Cashman Equipment Corp.’s Motion to Dismiss, ECF Doc. 13 at p. 2.
2
 Curiously, Plaintiff initially contractually stipulated it reviewed classification documents, but then later states that if
had actually reviewed those same documents it would have taken a different course of action. (See Plaintiff’s
Opposition to Defendant Cashman Equipment Corp.’s Motion to Dismiss, ECF Doc. 13 at p. 4, fn. 2).
3
    See Plaintiff’s Opposition to Defendant Cashman Equipment Corp.’s Motion to Dismiss, ECF Doc. 13 at p. 9.



                                                            3.
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    that reaches such a conclusion. Plaintiff’s signature on the Contract binds it to the position that

    it “reviewed the inspection and classification records of the vessel” with no exceptions, nor

    limitations. Plaintiff’s argument focuses solely on certain documents, but ignores all others,

    including those it attached to its Amended Complaint. This position is neither a reasonable nor

    common sense reading of the Contract.

           D. Miscellany

           Several points in Plaintiff’s Opposition are secondary, but still warrant brief responses.

                    1. It is of no moment if the alleged misrepresentations were written or oral.

           Plaintiff has sought to distinguish HSBC Realty Credit Corp. (USA) v. O’Neill.4 and Turner

v. Johnson & Johnson5 on the issue of written versus oral misrepresentations. Turner only

referenced oral misrepresentations. But it did not exclude written misrepresentations, it simply

did not address them. HSBC Realty did address alleged misrepresentation in writing. In Gertz v.

Vantel Int’l /Pearls in the Oyster, Inc., 2020 WL 3977404 (D.Mass. 2020), the Court

acknowledged this non-issue:

           In HSBC Realty, the fraud claims were based, in part, on two provisions in the project-loan
           agreement alleged to constitute false statements of material fact made to induce defendant
           to sign the guaranty. The fact that those alleged false statements were not oral was of no
           matter to the court.6

                    2. Generic “as-is” clauses and integration clauses are not at issue

           Plaintiff’s arguments on these issues are a detour from the determination of whether its

alleged reliance was reasonable. There is an “as-is” clause in the Contract. However, it is not

relied upon in this context. It is the clear and unambiguous disclaimer and disavowal language in


4
    745 F.3d 564 (1st. Cir. 2014).
5
    809 F.2d 90 (1st Cir. 1986).
6
    Id. at *12, citing HSBC Realty, 745 F.3d at 570 (internal citations and quotes omitted).



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Section 4, which Cashman respectfully suggests guides the Court’s analysis.

               3. There were extenuating circumstances surrounding Cashman’s misstep of
                  Local Rule 7.1 (a)(2).

       Plaintiff served its Amended Complaint, with varying exhibits, on three separate occasions.

 Rather than waste time parsing which version triggered Plaintiff’s deadline to respond,

 undersigned asked Plaintiff’s counsel when he considered responsive pleadings would be due.

 Plaintiff’s counsel claimed May 13, 2022.

       A teleconference was scheduled for May 10, 2022 between counsel. Plaintiff represented

 it wished to discuss settlement. Undersigned was willing to do so, but also wished to address

 Cashman’s now-pending Motion to Dismiss. Prior to the conference, both undersigned and

 Plaintiff’s counsel contracted Covid. The call was cancelled, and on the same date, undersigned

 requested, in writing, an extension of time to file responsive pleadings. Plaintiff’s counsel did

 not respond to this request, leaving undersigned in an uncomfortable and uncertain position.

 Rather than run the risk of missing this deadline, Cashman proceeded with filing its Motion. After

 the filing, undersigned sought to reschedule the teleconference with Plaintiff’s counsel. He

 declined unless there was an assurance Cashman would tender a settlement offer. No conference

 occurred. Respectfully, Cashman did not “thumb its nose” at the Court’s Local Rules.

       E. Request for Oral Argument

       Pursuant to Local Rule 7.1 (d), undersigned respectfully suggests the oral argument may

 assist the Court and requests same.




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       WHEREFORE, Cashman Equipment Corp. prays that its Motion to Dismiss be allowed

 and this honorable Court enter an Order dismissing all Plaintiff’s claims against Cashman

 Equipment Corp., including an award of all costs and expenses incurred with the filing of this

 Motion.

DATED: June 16, 2022.

                                                 Respectfully submitted,

                                                   /s/ Scott D. Brownell
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                                                   Attorneys for Cashman Equipment Corp.



                                 CERTIFICATE OF SERVICE

        I hereby certify that this document, filed through the ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on June 17, 2022.


                                         /s/ Scott Brownell
                                          Scott D. Brownell




                                                  6.
